      Case 2:15-cr-00190-KJM Document 477 Filed 09/25/18 Page 1 of 2


1

2

3

4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                   No.    2:15-cr-00190-GEB
8                     Plaintiff,
9            v.                                  ORDER DENYING DEFENDANT’S USE OF
                                                 AN ASSERTED CARETAKER AT THE
10   JOHN MICHAEL DICHIARA,                      SEPTEMBER 28, 2018 SCHEDULED IN
                                                 CAMERA PROCEEDING AND SEALING
11                    Defendant.                 DEFENDANT’S FOUR PAGE
                                                 COMMUNICATIION; AND AN OSC
12                                               CONCERNING QUESTIONS B-D on PAGE
                                                 4 OR WHAT WAS SAID TO BE THE
13                                               LAST PAGE
14

15
                    On September 21, 2018, immediately before an in camera
16
     proceeding on Defendant’s request to have his appointed counsel
17
     under the Criminal Justice Act (“CJA”) be replaced by another
18
     appointed counsel under the CJA, the Defendant stated in open
19
     court that he wanted an individual present in the courtroom to be
20
     his “caretaker” who would speak for him during the September 21,
21
     2018 in camera proceeding.
22
                    Once    the   courtroom      was    closed    for   the    in     camera
23
     proceeding,       the    individual      acting      as     Defendant’s        asserted
24
     caretaker began reading a communication the Defendant wrote. The
25
     undersigned interrupted that individual’s reading and inquired
26
     about    the    page    length   of   the       communication.     That   individual
27
     responded it contained four pages. The undersigned then directed
28
                                                 1
      Case 2:15-cr-00190-KJM Document 477 Filed 09/25/18 Page 2 of 2


1    the Courtroom Deputy Clerk to obtain the communication and to

2    make    two    copies       of    it.    Subsequently,        a    copy   was    given    to

3    Defendant’s counsel and the undersigned stated the remaining copy

4    would be filed under seal. The proceeding was then adjourned and

5    rescheduled to commence at 10:00 a.m. on September 28, 2018.

6                  However, since Defendant has not shown a need for a

7    caretaker      at     the        scheduled      September        28,    2018    in   camera

8    proceeding,      his    counsel         shall       inform   the   Defendant     that    his

9    asserted caretaker is not authorized to attend the scheduled in

10   camera proceeding, and that Defendant’s personal appearance at

11   the scheduled September 28, 2018 in camera hearing is required.

12                 The four-page communication shall be filed under seal

13   and    the    Clerk    of    the    Court       shall    state     in   the    Docket   Text

14   concerning this sealed filing the following: Defendant’s sealed

15   four-page communication regarding his request for new appointed

16   counsel. However, Defendant shall show cause at the September 28,

17   2018 in camera proceeding why the questions he asks in (b)-(d) on

18   page four (or what was said to be the last page) should not be

19   filed on the public docket.

20                 Further, the sealed filing shall not be served on any
21   party.

22                 Dated:    September 25, 2018

23

24

25

26
27

28
                                                     2
